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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

KEITH H. HENDERSON,                               §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §     Civil Action No. 3:20-cv-3597
                                                  §
ATLANTA POSTAL CREDIT UNION,                      §     With Jury Demand Endorsed
                                                  §
        Defendant.                                §

                                           COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Plaintiff Keith H. Henderson (“Plaintiff”), by and through counsel, for his Complaint

against Defendant Atlanta Postal Credit Union (“Defendant”), states as follows:

                                          I. INTRODUCTION

       1.      Defendant engaged in willful, malicious, deceptive, and harassing actions against

Plaintiff in furtherance of its efforts to illegally collect from him a debt that was included in his

bankruptcy case. Defendant, after Plaintiff’s debt had been discharged, filed suit to collect the

debt plus costs, interest, and attorney fees.

       2.      Specifically, Plaintiff claims Defendant violated: 1) Tex. Fin. Code § 392.001 et

seq., known as the Texas Debt Collection Act (“TDCA”); 2) the common law prohibiting invasion

of privacy; and 3) the discharge injunction of the United States Bankruptcy Court for the Northern

District of Texas, Dallas Division. Plaintiff seeks to recover from Defendant actual, statutory, and

punitive damages, and legal fees and expenses.
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                                           II. PARTIES

       3.      Plaintiff is a natural person residing in Collin County, Texas and a “consumer,” as

defined by the TDCA, Tex. Fin. Code § 392.001(1).

       4.      Defendant Atlanta Postal Credit Union is a foreign credit union that may be served

by delivering a summons to its President and CEO, Charles Head, 3900 Crown Road, Atlanta, GA

30380-0001.

       5.      Defendant is a “is a “creditor,” “debt collector,” and/or “third-party debt collector”

under the TDCA, Tex. Fin. Code §§ 392.001(3)(6) and (7).

       6.      The debt Defendant is attempting to collect from Plaintiff was a “consumer debt,”

as defined by Tex. Fin. Code § 392.001(2).

                                 III. JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1334

and 1367.

       8.      Venue is proper this district because Plaintiff filed his bankruptcy case in this

district and a some of the conduct complained of occurred in this district.

                                  IV. FACTUAL ALLEGATIONS

A.     The Inclusion and Discharge of the Subject Debt in Plaintiff’s Bankruptcy Case

       9.      On October 10, 2019, Plaintiff filed Chapter 7 bankruptcy in case number 19-

33415-sgj7 (the “Bankruptcy Case”) in the Northern District of Texas Bankruptcy Court, Dallas

Division (the “Bankruptcy Court”).

       10.     On Schedule F,” filed with his bankruptcy petition, Plaintiff listed Atlanta Postal

Credit Union as a nonpriority unsecured creditor, owing the amount of $2,391.00, with an account

number ending in 5564 (the “Account”).




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       11.     A true and correct copy of relevant portions of Plaintiff’s Schedule “F” is attached

hereto as Exhibit “A.”

       12.     On or about October 13, 2019, the Bankruptcy Noticing Center for the Bankruptcy

Court sent a copy of the “Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors and

Deadlines” (“341 Notice”) to Defendant, by first class mail. The 341 Notice warned all creditors,

in conspicuous language, against violating the automatic stay imposed by 11 U.S.C. § 362. The

United States Postal Service did not return the 341 Notice sent to Defendant, creating a

presumption it was received by Defendant.

       13.     On January 23, 2020, the Bankruptcy Court issued an order granting Plaintiff a

discharge (“Discharge Order”). The Discharge Order followed Official Form 318, including the

explanatory language contained therein. The Discharge Order discharged Plaintiff from any

liability for the debt created by the Account.        Included with the Discharge Order was an

explanation of the general injunction prohibiting any attempt to collect discharged debts, warning

all creditors, in conspicuous language, that “Creditors cannot collect discharged debts” and that

“Creditors cannot contact the debtors by mail, phone, or otherwise in any attempt to collect the

debt personally. Creditors who violate this order can be required to pay debtors damages and

attorney’s fees.”

       14.     On January 26, 2020, the Bankruptcy Noticing Center mailed a copy of the

Discharge Order to Atlanta Postal Credit Union by first class mail. This mailing, which was not

returned, constituted notice to Atlanta Postal Credit Union of the discharge granted in Plaintiff’s

Bankruptcy Case and the replacement of the automatic stay of 11 U.S.C. § 362 with the discharge

injunction imposed by 11 U.S.C. § 524(a).

       15.     A true and correct redacted copy of the Discharge Order is attached hereto as

Exhibit “B.”

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       16.       At no time during the pendency of Plaintiff’s Bankruptcy Case did Defendant or

any other person or entity object to or dispute the details or completeness of the claim regarding

the Account listed on Schedule “F” to Plaintiff’s bankruptcy petition.

       17.       At no time did Plaintiff reaffirm the debt on the Account with any person or entity.

       18.       At no time did the Bankruptcy Court declare the debt on the Account to be non-

dischargeable.

B.     After the Discharge of the Debt In Plaintiff’s Bankruptcy Case, Defendant Attempted
       To Collect The Debt From Plaintiff by Filing a Lawsuit To Force Payment.

       19.       On October 5, 2020, following the entry of the Discharge Order of January 23,

2020, Defendant engaged in prohibited debt collection activity against Plaintiff on the Account by

filing a Complaint (the “Complaint”) in the Superior Court of Gwinnett County, State of Georgia

(the “State Court”) in case number 20-A-06653-2 seeking a judgment compelling payment of the

Account. In the Complaint, Defendant made material misrepresentations to Plaintiff and the State

Court that Plaintiff owed a debt to Defendant and was liable for interest, attorney’s fees and costs

when the Account was no longer collectible due to the bankruptcy discharge injunction in effect.

       20.       A true and correct redacted copy of the Summons and Complaint are attached

hereto as Exhibit “C.”

       21.       In late October 2020, Defendant caused a Sheriff’s Deputy to attempt service of the

Complaint on Plaintiff at his mother’s address in Georgia.          Plaintiff’s mother immediately

contacted Plaintiff and advised him of the Complaint and her shock and dismay at being confronted

by the Sheriff’s Deputy. Plaintiff suffered great humiliation, fear, and distress at the news and

continues to worry and fear the impact the lawsuit will have on him, his credit and his relationship

with his mother and family.




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                                   V. GROUNDS FOR RELIEF - COUNT I

                TEXAS FINANCE CODE – TEXAS DEBT COLLECTION ACT (TDCA)

        22.     Plaintiff repeats, re-alleges, and incorporates by reference all the above Paragraphs

as if fully rewritten here.

        23.     Defendant has violated the Texas Finance Code in numerous ways, including, but

not limited to, the following:

                a)      Tex. Fin. Code § 392.301(a)(8) prohibits Defendant from taking an action
                        prohibited by law. Inasmuch as: 1) the bankruptcy discharge injunction
                        prohibits anyone from attempting to collect debts included or discharged in
                        bankruptcy in personam; 2) the common law protects Plaintiff’s privacy
                        rights; Defendant’s actions against Plaintiff violated the TDCA;

                b)      Tex. Fin. Code § 392.304(a)(8) prohibits misrepresenting the character,
                        extent, or amount of Plaintiff’s debt. Defendant misrepresented to Plaintiff
                        and the State Court in the Complaint that the Account, which had been
                        discharged, was past due and owing; these were misrepresentations of the
                        character, extent or amount of the subject debt, in violation of the TDCA;
                        and

                c)      Tex. Fin. Code § 392.304(a)(19) prohibits Defendant’s use of false
                        representations or deceptive means to collect a debt, for the reasons stated
                        in the preceding paragraphs (a and b); Defendant intentionally tried to
                        coerce or deceive Plaintiff into paying the debt by filing suit while
                        Defendant knew the Account was discharged in Plaintiff’s bankruptcy,
                        rendering the debt legally uncollectible from Plaintiff in personam.

        24.     Under Tex. Fin. Code Ann. § 392.403, Defendant’s actions make it liable to

Plaintiff for actual damages, statutory damages, injunctive relief, costs, and reasonable attorney’s

fees. Also, Plaintiff’s injuries resulted from Defendant’s malice, actual fraud and/or willful and

intentional misconduct, entitling Plaintiff to punitive damages.

        25.     Because of Defendant’s conduct, Plaintiff was forced to hire counsel to pursue this

action, and Plaintiff’s recoverable damages include his reasonable attorney’s fees incurred in

prosecuting this claim.




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                                  VI. GROUNDS FOR RELIEF - COUNT II

                                         INVASION OF PRIVACY

        26.     Plaintiff repeats, re-alleges, and incorporates by reference all the previous

Paragraphs above, as if rewritten here in their entirety.

        27.     At all pertinent times, Plaintiff had a reasonable and lawful expectation not to be

contacted and harassed by Defendant during the bankruptcy and post-discharge. The Defendant

had no legal justification for filing the Complaint and having the Sheriff attempt to serve him at

his mother’s address after a discharge had been granted. Thus, Defendant’s filing of the Complaint

and contacting Plaintiff’s mother while trying to personally serve it, were invasions of Plaintiff’s

privacy rights. These wrongful acts of Defendant caused injury to Plaintiff.

        28.     Defendant’s wrongful acts were invasions of Plaintiff’s privacy rights and caused

him extreme mental distress when the Sheriff’s Deputy tried to serve him at his mother’s address

with the Summon and Complaint. In addition to the shock and humiliation he felt from finding

out from his mother that the Sheriff was trying to serve him, he suffered extreme mental anguish,

fear that he might suffer damage to his credit and have to pay an attorney to defend himself

hundreds of miles away in another state, and loss of time and inconvenience. Plaintiff’s injuries

resulted from Defendant’s malice, which entitles Plaintiff to exemplary damages under Texas Civil

Practice and Remedies Code §41.003(a).

                                  VII. GROUNDS FOR RELIEF- COUNT III

                            VIOLATION OF THE DISCHARGE INJUNCTION

        29.     Plaintiff repeats, re-alleges, and incorporates all previous paragraphs above as if set

forth herein in their entirety.

        30.     At all material times, Defendant had actual knowledge of Plaintiff’s Bankruptcy

Case and of the discharge of the debt on the Account.

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       31.     Defendant attempted to collect from Plaintiff personally on the discharged debt or

to get Plaintiff to take action to benefit the Defendant, as evidenced the filing of the Complaint in

the State Court to collect the Account.

       32.     Defendant’s actions were willful acts in furtherance of its efforts to collect the

discharged debt from Plaintiff, in violation of the discharge injunction imposed by 11 U.S.C. §

524(a). Further, Defendant’s acts were harassing and attempts to coerce and deceive Plaintiff to

pay the discharged debt. Defendant’s failure to comply with the aforesaid laws, despite Defendant

being on notice of Plaintiff’s Bankruptcy Case and discharge and the effect of Plaintiff’s discharge,

illustrates Defendant’s utter contempt for federal law and the discharge injunction.

       33.     The actions of Defendant constitute harassment and coercive and/or deceptive

actions taken to collect a discharged debt from Plaintiff, in gross violation of the discharge

injunction imposed by 11 U.S.C. § 524(a)(1)-(3).

       34.     Defendant knowingly and willfully violated the orders and injunctions of the

Bankruptcy Court issued in the bankruptcy filed by Plaintiff. After this prima facie showing by

Plaintiff, the duty falls on Defendant to show, as its only defense, a present inability to comply

with the orders and injunctions of the Bankruptcy Court, which inability must go beyond a mere

assertion of inability. Failing a showing by Defendant of its present inability to comply with the

orders and injunctions of the Bankruptcy Court, Plaintiff must prevail on his claims, and Defendant

must be held liable for knowingly and willfully violating the orders and injunctions of the

Bankruptcy Court. Any defense put forth by Defendant in this proceeding can only constitute a

good faith exception, as no other reasonable explanation can be made for the conduct and actions

of Defendant. Any allegation of a good faith exception should not be allowed.

       35.     Specifically, Defendant violated the part of the Bankruptcy Court’s Discharge

Order issued pursuant to 11 U.S.C. § 524(a)(2) that “operates as an injunction against the

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commencement, or continuation of an action, the employment of process, or an act, to collect,

recover or offset any such debt as a personal liability of the debtors, whether or not the discharge

of such debt is waived ...”

       36.     There are no exceptions under 11 U.S.C. § 524, other provisions of the United

States Bankruptcy Code, or other applicable law that would permit Defendant’s conduct, which

was in blatant disregard of the discharge injunction.

       37.     The orders and injunctions of the Bankruptcy Court cannot be waived, except by

way of a properly filed and approved reaffirmation agreement, motion, stipulation or complaint,

none of which occurred here. No waiver of the orders or injunctions of the Bankruptcy Court has

occurred.

       38.     Also, there is no requirement of mitigation on the part of Plaintiff that is relevant

to Defendant’s violations of the orders and injunctions of the Bankruptcy Court. Any burdening

of Plaintiff with an obligation to police the misconduct of Defendant would be a complete

derogation of the law. It is well-settled that each party to an injunction or order of the Court is

responsible for ensuring its own compliance with the injunction or order and for bearing the cost

of compliance. Any attempt by Defendant to mount such a defense would constitute a collateral

attack on the injunctions and orders of the Bankruptcy Court in this proceeding, which is

prohibited. Any such defense put forth by Defendant in this case can only constitute a claim of

mitigation, as no other reasonable explanation can be made for the conduct and actions of

Defendant. No defense of failure to mitigate should be allowed.

       39.     Plaintiff has been injured and damaged by Defendant’s actions, and Plaintiff is

entitled to recover judgment against Defendant for actual damages and punitive damages, plus an

award of costs and reasonable attorney’s fees, for Defendant’s violations of 11 U.S.C. § 524 and

pursuant to the Court’s powers under 11 U.S.C. § 105.

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                         VIII. VICARIOUS LIABILITY / RESPONDEAT SUPERIOR

        40.     Plaintiff will be able to show, after reasonable discovery, that all actions at issue

were taken by employees, agents, servants, or representatives, of any type, for Defendant, the

principal, within the line and scope of such individuals’ (or entities’) express or implied authority,

through employment, agency, or representation, which imputes liability on Defendant for all such

actions under the doctrine of respondeat superior and/or vicarious liability.

                                           IX. DAMAGES

        41.     In addition to any damages previously stated hereinabove, the conduct of Defendant

has proximately caused Plaintiff past and future monetary loss; past and future mental distress,

emotional anguish and a discernable injury to Plaintiff’s emotional state; and other damages,

evidence for all of which will be presented to the jury. Moreover, dealing with the consequences

of Defendant’s actions has cost Plaintiff time and mental energy, which are precious to him.

        42.     At all relevant times, Defendant knew, and it continues to know, that, pursuant to a

discharge order granted by a U.S. Bankruptcy Court, discharged debts are no longer legally

collectible, but Defendant made a corporate decision to act knowingly, willfully, maliciously, and

contrary to its knowledge of bankruptcy law, to attempt to collect on the debt it knew had been

discharged as a result of Plaintiff’s Bankruptcy Case. Defendant had no right to engage in any of

its actions at issue.

        43.     Plaintiff believes that, after reasonable discovery in this case, he will be able to

show that all actions taken by, or on behalf of, Defendant were conducted maliciously, wantonly,

recklessly, intentionally, knowingly, and/or willfully, with the desire to harm Plaintiff, with the

actual knowledge that such actions were in violation of the law.

        44.     Plaintiff believes that, after reasonable discovery, he will be able to show that

Defendant has been involved in numerous disputes involving complaints about the type of conduct

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at issue here; nevertheless, Defendant, intentionally and knowingly, has refused to correct its

policies and comply with applicable laws, of which laws it is well-aware.

         45.   Plaintiff believes that, after reasonable discovery, he will be able to show that

Defendant has engaged in a pattern and practice of wrongful and unlawful behavior, in accordance

with its established policies and procedures, with respect to knowingly, willfully, intentionally,

and maliciously attempting to collect on debts discharged in bankruptcy. Accordingly, Defendant

is subject to punitive damages, statutory damages, and all other appropriate measures necessary to

punish and deter similar future conduct by Defendant. Moreover, Plaintiff’s injuries resulted from

Defendant’s malice, and/or willful and intentional misconduct, entitling Plaintiff to punitive

damages.

         46.   Plaintiff believes that, after reasonable discovery, he will be able to show that

Defendant’s actions at issue were part of Defendant’s illegal design, implemented in its policies

and procedures, to profit by harassing unsophisticated debtors and collecting debts that had been

included and discharged in the debtors’ respective bankruptcy cases.

         47.   Due to Defendant’s conduct, Plaintiff was forced to hire counsel, and his damages

include reasonable attorney’s fees incurred in prosecuting his claims.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff Keith H. Henderson prays the

Court:

         A.    Enter judgment in favor of Plaintiff and against Defendant for statutory damages,

actual damages, costs, and reasonable and necessary attorney’s fees for Defendant’s violations of

the TDCA, Plaintiff’s privacy rights, and the discharge injunction;

         B.    Find that appropriate circumstances exist for an award of punitive damages to

Plaintiff;

         C.    Award Plaintiff pre-judgment and post-judgment interest as allowed by law; and

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        D.      Grant such other and further relief, in law or equity, to which Plaintiff might show

he is justly entitled.

                                               Respectfully submitted,


                                               /s/ James J. Manchee
                                               James J. Manchee
                                               State Bar Number 00796988
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                                               COUNSEL FOR PLAINTIFF


                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues so triable.

December 9, 2020                               /s/ James J. Manchee
Date                                           James J. Manchee




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